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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

STEVEN GREEN, on behalf of                       )
himself and all others similarly situated,       )
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )       No. 1:19-cv-02129
                                                 )
CHICAGO ATHLETIC CLUBS, LLC,                     )
                                                 )
       Defendant.                                )


STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

       Plaintiff, STEVEN GREEN, on behalf of himself and all others similarly situated, and

Defendant, CHICAGO ATHLETIC CLUBS, LLC, through their respective counsel, and

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), stipulate to the following:

       1. The parties stipulate to dismiss plaintiff’s class action allegations WITHOUT

PREJUDICE. The court has not certified the proposed class and no notice has been given to any

putative class member of this lawsuit. The parties have settled their differences in a private

settlement agreement which is not binding on any class member other than the plaintiff. As such,

there is no need for notice to the putative class members pursuant to Fed. R. Civ. P. 23(e).

       2. The parties stipulate to dismiss plaintiff’s individual claims against defendant

WITH PREJUDICE with both sides to bear their own fees and costs. This stipulation dismisses

       the action in its entirety.




                                [INTENTIONALLY LEFT BLANK]


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Respectfully submitted,

 By: /s/ Taylor Kosla
Taylor Kosla
Attorney for Plaintiffs
AGRUSS LAW FIRM, LLC
4809 N. Ravenswood Avenue, Suite 419
Chicago, IL 60640
312-224-4695 – office
312-253-4451 – facsimile
taylor@agrusslawfirm.com

Respectfully submitted,

 By: /s/ J.H Jennifer Lee
J.H. Jennifer Lee
IL Bar # 6290027
ARENT FOX LLP
1717 K Street, N.W.
Washington, DC 20006-5344
(202) 857-6000 (telephone)
(202) 857-6395 (facsimile)
jenny.lee@arentfox.com
Attorney for Defendant
Chicago Athletic Clubs, LLC




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                                   CERTIFICATE OF SERVICE


       I certify that on July 16, 2019, a true and correct copy of the foregoing document was

electronically filed with the Court’s CM/ECF system to be sent via the electronic notification

system to all counsel of record.


                              By: /s/ Taylor Kosla
                                     Taylor Kosla




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